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                                                       U.S. Department of Justice


                                                       United States Attorney
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                                                       Brooklyn, New York 11201

                                                       July 25, 2023
   By ECF
   Honorable Nina R. Morrison
   United States District Judge
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, New York 11201

                Re:      United States of America v. Rare Breed Triggers, LLC, et al.
                         No. 23-cv-369 (Morrison, J.) (Levy, M.J.)

  Dear Judge Morrison:

         Pursuant to the Scheduling Order adopted by the Court, the United States’ deposition
  designations are due today, July 25, 2023. See ECF No. 60; May 31, 2023 Minute Entry.
  Accordingly, the United States submits deposition designations for the following witnesses:

         1. Designations from the deposition of Lawrence DeMonico, held on July 7, 2023;
         2. Designations from the deposition of Cole Leleux, held on June 30, 2023; and
         3. Designations from the deposition of Jennifer Pierson, held on June 29, 2023.

         The United States thanks the Court for its consideration of this matter.

                                                       Respectfully submitted,
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                                                       United States Attorney
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